Case: 1:15-cr-00339 Document #: 27 Filed: 12/03/15 Page 1 of 1 Page|D #:92 ij
13 GJ 834

Order Form (01/2005)

United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

 

 

/ m
Name of Assigned Judge Sitting Judge if Other M`=`~_~
or Magistrate Judge than Assigned Judge

CASE NUMBER 15-CR-OO339 DATE 03 DECEMBER 2015

CASE

TITLE U.S. v. DAVID STELAMCHOWSKI, et al , t

JU DGE ZAGEL
U N D ER S EAL 1

DOCKET ENTRY TEXT M AG l ST g M.; m DGE GKLBER§_

 

Grand Jul_'y Proceeding

The Grand Jury for SPECIAL JANU/\RY 2015 the Session, a quorum being
present, returns the above-entitled ` dictme `n open Court this date before

 

Judge or Magistrate Judge

 

BOND SET BY MAG|STRATE JUDGE TO STAND AS BOND |N TH|S |NSTANCE AS TO DAV|D
STELI\/|ACHOWSK|.

TO |SSUE BENCH WARRANT AND SET PREL||\/HNARY BA|L AT $250,000.00 (SECURED) AS TO W|LL!AM
M|KA|T!S.

THE D|STR|CT COURT CLERK'S CFF|CE |S D|RECTED TO D|SCLOSE TO THE ASS|STANT UN|TED STATES
ATTORNEY ASS\GNED TO TH|S CASE FOR THE GOVERN|\/|ENT, THE NAME OF THE JUDGE, |\/|AG|STRATE

JUDGE, AND THE DOCKET NUMBER ASS|GNED TO TH|S CASE |N ORDER TO EXPED|TE THE
ARRA|GN|\/|ENT OF THE ARRESTED DEFENDANT.

TH|S INFOR|\/|AT|ON |S TO RE|\/|A|N SEALED UNT|L THE ARREST OF THE DEFENDANT OR BY FURTHER
ORDER OF THE COURT, WH|CH EVER OCCURS F|RST.

00 NOT SEAL ARREST WARRANT. RECEIVED

DF.C 03 2015

THOMAS G. BRUTON
CLERK U. S. D|STR\CT COURT

 

 

 

 

SlGNATURE OF JUDGE (ONLY IF FILED w d
or MAGISTRATE JUDGE UNDER SEAL) 4 mg !:}:
Courtroom Deputy Initials: y /

 

 

 

 

Page l of l

 

